                             EXHIBIT A




24-01863-FPC11   Doc 129-1   Filed 10/28/24   Entered 10/28/24 19:42:47   Pg 1 of 4
                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

    In re                                              Chapter 11

    Refreshing USA, LLC,                               Case No. 24-33919 (ARP)
                                                       (Jointly Administered)
                                   1
                            Debtors .


                    DECLARATION OF BRIAN WEISS IN SUPPORT OF
            DEBTORS’ SECOND EMERGENCY MOTION FOR EXTENSION OF TIME
               TO FILE SCHEDULES, STATEMENT OF FINANCIAL AFFAIRS,
             AND OTHER DOCUMENTS REQUIRED BY BANKRUPTCY RULE 1007



            I, Brian Weiss, being duly sworn, state the following under penalty of perjury:

            1.     I submit this declaration (the “Declaration”) in support of Debtors’ Second

Emergency Motion for Extension of Time to File Schedules, Statement of Financial Affairs, and

Other Documents Required by Bankruptcy Rule 1007 (the “Motion”). Except as otherwise

noted, I have personal knowledge of the matters set forth herein.

            2.     I am a partner of Force Ten Partners, LLC (“Force 10”). I have approximately 24

years of experience providing financial advisory, restructuring and turnaround services and have

advised companies across a diverse range of industries. I assist clients both inside and outside of

chapter 11 in addressing a variety of financial, operational, liquidity, and leverage issues.

Recently, I have served as the CRO in Carbonlite Industries, Breckenridge Food Systems, Star



1
 Debtors and debtors-in-possession in these Chapter 11 cases (“Bankruptcy Case(s)”), along
with the last four digits of their respective Employer Identification Numbers, are as follows:
Refreshing USA, LLC (XX-XXXXXXX) (“Refreshing”), Case No. 24-33919; Water Station
Management LLC (XX-XXXXXXX) (“Water Station”), Case No. 24-33924; and Creative
Technologies, LLC (XX-XXXXXXX) (“Creative” and, together with Refreshing and Water Station,
“Debtors”), Case No. 24-33934. Debtors’ mailing address is: 2732 Grand Ave., Ste. 122,
Everett, WA 98201.



                                                 Page 1
24-01863-FPC11            Doc 129-1     Filed 10/28/24     Entered 10/28/24 19:42:47          Pg 2 of 4
Ribs, LLC, CIR Restaurant Holdings Group, Inc., Desert Restaurant Ventures, Mancha

Development Corp., and Thomas Management, Inc. and as financial advisor in Rubio’s

Restaurants, Alpha Guardian, and Sugarfina, Inc. I have further served as the CRO and financial

advisor in a variety of out-of-court restructurings. In 2022, I received an award and was named a

“Top 25” restructuring consultant with a distinction in dealmaking by Global M&A Network.

       3.      On October 14, 2024 (“Retention Date”), Force 10 was engaged by Debtors to

provide me as Debtors’ CRO and with Restructuring Advisor Personnel, as necessary, to provide

certain advisory services in connection with Debtors’ ongoing evaluation, development, and

implementation of strategic alternatives to address their assets, financial performance, and to

analyze the prospects of a reorganization.

       4.      Since the Retention Date and even before, I and Force 10 have devoted and

continue to devote substantial time and effort to prosecuting these cases, managing Debtors’

business operations, preparing chapter 11 bankruptcy compliance documents, corresponding

with various stakeholders, developing strategies for the chapter 11 cases to attempt to maximize

value to the estates and for creditors, and managing Debtors’ restructuring professionals. I and

Force 10 have been working diligently and with urgency, alongside and in cooperation with

Turning Point, to accurately complete the Debtors’ Statement of Assets and Liabilities,

Statements of Financial Affairs, List of Equity Security Holders, and Corporate Ownership

Statement. A complete understanding of Debtors’ financial and business records, operations,

assets, liabilities, and creditors, is currently lacking for myriad reasons, including the general

disorder of Debtors’ books and records.

       5.      Given these problems with Debtors’ records and the myriad other issues we are

trying to deal with in these very complex, involuntary cases, additional time is necessary to




                                               Page 2
24-01863-FPC11        Doc 129-1       Filed 10/28/24     Entered 10/28/24 19:42:47          Pg 3 of 4
ensure the Statement of Assets and Liabilities, Statements of Financial Affairs, List of Equity

Security Holders, and Corporate Ownership Statement are complete and accurate. Extending the

deadline to November 22, 2024, which is the deadline for Creative to file the same documents,

should provide adequate time to file the documents accurately.

        I HEREBY DECLARE THAT THE ABOVE STATEMENTS ARE TRUE TO THE

BEST OF MY KNOWLEDGE AND BELIEF, AND THAT I UNDERSTAND THEY ARE

MADE FOR USE AS EVIDENCE IN COURT AND IS SUBJECT TO PENALTY FOR

PERJURY.

        Dated: October 28, 2024.
                                                  /s/ Brian Weiss
                                                 Brian Weiss



044904\00001\17698926v3




                                               Page 3
24-01863-FPC11            Doc 129-1   Filed 10/28/24    Entered 10/28/24 19:42:47        Pg 4 of 4
